
Careful Complete Medical, P.C., as Assignee of Lonnie Wheeler, Appellant,
againstDelos Insurance Company, Respondent.




Gary Tsirelman, P.C. (Irena Golodkeyer, Esq.), for appellant.
McGivney and Kluger, P.C., for respondent (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Pamela L. Fisher, J.), entered November 21, 2014. The judgment, entered pursuant to an order of that court entered May 23, 2012 granting defendant's motion for summary judgment, dismissed the complaint.




ORDERED that the judgment is reversed, with $30 costs, the order entered May 23, 2012 is vacated, and defendant's motion for summary judgment dismissing the complaint is denied.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from a judgment of the Civil Court which dismissed the complaint pursuant to a prior order of that court granting a motion by defendant for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath (EUOs).
Plaintiff correctly argues on appeal that defendant failed to demonstrate that it was entitled to summary judgment dismissing the complaint based on the failure to appear for EUOs, as the initial EUO request had been sent more than 30 days after defendant had received the claims at issue and, therefore, the requests were nullities as to those claims (see Neptune Med. Care, P.C. v Ameriprise Auto &amp; Home Ins., 48 Misc 3d 139[A], 2015 NY Slip Op 51220[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]; O &amp; M Med., P.C. v Travelers Indem. [*2]Co., 47 Misc 3d 134[A], 2015 NY Slip Op 50476[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]). 
Accordingly, the judgment is reversed, the order entered May 23, 2012 is vacated, and defendant's motion for summary judgment dismissing the complaint is denied.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










